Case 14-12458-amc        Doc 655    Filed 10/04/23 Entered 10/11/23 14:52:04             Desc Main
                                   Document     Page 1 of 13


                 IN THE COURT OF COMMON PLEAS OF MONTGOMERY COUNTY,
                             PENNSYLVANIA CIVIL DIVISION  -




         ECILLC                                       :

                        v.                            :
                                                                                                   i5
                                                              No. 2011-12517

         CAMPISI CONSTRUCTION INC.,
         etal

                                           ORDER


               And now this ay of October, 2023 after a hearing to determine an
         assessment of credits, it is hereby Ordered and Decreed that this matter shall
     be transferred to the United States Bankruptcy Court for the Eastern
     District of Pennsylvania to determine whether the $143)12383 paid to the
     instant Plaintiff pursuant to a Bankruptcy Court settlement agreement’
     shall be credited to Defendant, Campisi Construction against the judgment
     owed in the instant matter. In support of this request, this Court makes the
     following findings of fact:


            1. PlaintiffJECI, as a subcontractor for Defendants/Campisi Construction
               and Anthony Campisi was to provide labor and equipment for
               improvements at a gas station.
           2. On July 15, 2011, ECI filed a complaint in the Montgomery County
               Court of Common Pleas against Campisi Construction and Anthony
               Campisi for breach of contract and debt collection.
            3. The parties proceeded t.o binding arbitration at which a verdict was
               rendered on behalf of Plaintiff in an amount, inclusive of interest,
               totaling $174,047.35.
           4. This award was not appealed.


    .1This matter was originally presided over by the Honorable Jean K. fitzsimon (ret.) at BKY.
     NO. 14-12458JFK.

                                                  1
Case 14-12458-amc      Doc 655    Filed 10/04/23 Entered 10/11/23 14:52:04    Desc Main
                                 Document     Page 2 of 13


        5. On August 13, 2013 Judge Braxton confirmed the arbitratio
                                                                        n award
           against co-defendants Campisi Construction and Anthony Campi
                                                                              si
           jointly and severally and issued a judgment in the amount
                                                                       of
           $174,047.35 as of May 31, 2013 plus $52.71 in interest for each
                                                                            day
           through the date of the entry of judgment. See attached Exhibi
                                                                           t “A.”
        6. This judgment was not appealed.
        7. During the time period when Plaintiff was atteniptiug to
                                                                    collect   on this
           judgment, Defendant, Campisi Coiistr uction declared bankruptcy.
        8. ECI appropriately made a claim as a creditor against Campisi
           Construction before the U.S. Bankruptcy Court, EDPA.
        9. ECI’s bankruptcy court claim is based on the August 13, 2013
          judgment.
        10. On March 15, 2016 a settlement was reached in Bankruptcy
                                                                          Court
          between ECI and Campisi Construction. See attached Exhibit “B.”
       11.Tlre parties agree that ECI received a monetary award purs
                                                                         uant to the
          Bankruptcy Court settlement; the amount of the award being
          $ 143,1 23.83.
       12. The relevant provisions of this settlement agreement to the
                                                                         instant
          action are as follows:
             a. Confirmation of the subject state court judgment received
                                                                          by
                 ECI. Exhibit B, pp 4.
             b. A provision prohibiting a reduction to ECI’s claims based on
                                                                                   the
                amount paid form the settlement agreement. Exhibit B,
                                                                            pp 8
                (m).
             c. Retention of any disputes arising from or relating to the
                agreement to be retained by the Bankruptcy Court. Exhibit B,
                pp 9.
       13.The Bankruptcy Court settlement agreement was never adopte
                                                                            d by
         this Court.



                                            2
Case 14-12458-amc    Doc 655    Filed 10/04/23 Entered 10/11/23 14:52:04      Desc Main
                               Document     Page 3 of 13



        14. Subsequent to this settlement in Bankruptcy Court, ECI filed a Motion
           to Compel requesting Campisi Construction and Anthony Campisi
           satisfy the judgment.
        15.The Defendants filed a Motion for Credit asking this Court to reduce
           the amount of the judgment by the amount paid to ECI pursuant to the
           Bankruptcy Court ottlomont agreomont.


           Based on Lfie foregoing Lliis CourL respecLfully requesLs Lhe United
     States Bankruptcy Court for the Eastern District of Pennsylvania to
     determine whether Campisi Construction shall receive credit for the monies
     received by ECI pursuant to the Bankruptcy Court settlement agreement
     towards the judgment at issue before this Court.




                                                   E COURT:



                                               GAIL WEILMEIME            J.


    Efiled October ‘\, 2023:
    Court Administration
    Robert A. Saraceni, Jr., Esq.
    Edward M. Galang, Esq.
    Anthony Campisi, pro se
    Timothy B. lVlcGrath, Bankruptcy Clerk of Court




                                           3
Case 14-12458-amc   Doc 655    Filed 10/04/23 Entered 10/11/23 14:52:04   Desc Main
                              Document     Page 4 of 13




                    VII8IHX3
          Case 14-12458-amc             Doc 655     Filed 10/04/23 Entered 10/11/23 14:52:04                    Desc Main
<Page 2   of   22)
                                                   Document     Page 5 of 13


                      IN THE COURT OF COMMON PLEAS OF MONTGOMERY COUNTY,
                                                                                                PENNSYLVANIA
                                                        CWIL ACTION LAW -




                      Boftmueller Law Offices, P.C.
                     ‘By:   Barry 0. Bohmueller
                            Identification No. 79901
                     29 Mainland Road—Mainland Village
                     Harleysville, PA 19438                                     Attorney for Petitioner
                     (215) 256-6440                                             ECI, LLC



                     ECI, tIC                                                  COURT OF COMMON PLEAS
                                                                               MONTGOMERY COUNTY, PA
                                  Plaintiff
                           V.
                                                                               NO.2011-12517

                     CAMPISI CONSTRUCTION, INC.                                ARBITRATION AWARD

                                  and

                     ANTHONY G. CAMPISI                                            IN
                                                                                    2011-12517-0013              FHin:
                                                                                               8/ I’I/20 3 2:43: 2
                                                                                                                            9411441
                                                                                                      Qrckr
                                  Defendants                        •                  Receipt LI 894i          Icc      S0.tJO
                                                                    •             Mark Levy MontCo Prothonotar.
                                                                                            -




                                                             ORDER

                           AND NOW, this       /    day of              ,   2013, upon consideration of the

                     PETITION TO CONFIRM ARBITRATION AWARD AND ENTER JUDGMENT, and

                     any Answer thereto, it is hereby ORDERED, ADJUDGED and DECREED that the Arbitration

                 Award entered on September 12, 2102, by the Arbitrator David M. DeClement, Esquire, is

                 hereby CONFIRMED, and the Prothonotary is hereby directed to ENTER A MONEY

                 JUDGMENT in favor of Petitioner Ed, LLC and against Respondents CAMPISI

                 CONSTRUCTION, INC. and ANThONY G. CAMPISI (personally), jointly and sereratly,

                 in the amount of$174,047.35 as of May 31, 2013, plus $52.71 in interest for each day through

                 the date of entry ofjudgment.

                                                             BY
 .        c1 ç
     Counsel for moving party is responsible /
     to serve counsel for all other parties and                                                       J.
     all unrepresented parties with a copy of
     this order and shall flie a cerlic ate of
     service wfth the Prothonolary.
Case 14-12458-amc   Doc 655    Filed 10/04/23 Entered 10/11/23 14:52:04   Desc Main
                              Document     Page 6 of 13




                    8 118 IHX3
Case 14-12458-amc        Doc 655       Filed 10/04/23 Entered 10/11/23 14:52:04                          Desc Main
                                      Document     Page 7 of 13
                                                                          11:33:05                   Desc Main
   Case 1442458-jkt       Doc 511        Filed 03/16/16 Entered 03/ 17/16
                                         Document      Page 1 of 1




                                                                 COURT
                                     UNITED STATES BANKRUPTCY
                                                                                          -




                                                      OF PEN NSY LVA NIA
                                     EASTERN DISTRiCT

                                                              CHAPTER 7
         IN RE:

         CAMPISI CONSTRUCTION, [NC.
                                  DEBTOR                       RKY.NO. 14-12458JKf

                                                           QJDJR

                  AND NOW, this/s day of            }(L,                   2016, upon considerstlon of the

                                                                                                     parties in
                                                     Settlement, after notice to all creditors and
          Motion of the Trustee for Approval of
                                                                                                        filed, and
                                                            a Certification of No Objection having been
          interest, opportunity for hearing, and upon
                                                                                                Debtor, the Estate,
                                                   ement would be in the best interest of the
          it appearing that approval of the settl
                                                          hereby
          all creditors, and parties in interest, it is
                                                                   GRANTED,
                  ORDERED that the Trustee’s Motion is
                                                                   THE




            ACTiVE 3S49O629v1 OI/12fl016
Case 14-12458-amc           Doc 655    Filed 10/04/23 Entered 10/11/23 14:52:04                        Desc Main
                                      Document     Page 8 of 13




                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT Of PENNSYLVANIA

    IN RE:                                         : CHAPTER 7

    CAMPISI CONSTRUCTION, INC.
                             DEBTOR                 : BKY.NO. 14-124581KF

    CAMPISI CONSTRUCIION, INC.
                   PLAINTIFF


    CORNERSTONE CONSULTING
    ENGNEER$ & ARCHiTECTURAL, INC.:
    and ECI, LLC
                  DEFENDANTS        ADV. NO. 14-OO6I6JFK


                                                  TLEMENT BgIWEEN THE
             STIPULATION AND CONSENT ORDER Of SET
              CHAPTER 7 TRUSTEE. cRErnTOR EC, LLC AND cRE
                                                          DITO COUGAR
                              DEVELOPMENT GROUPS LLC

                                                                                                        agreed
               AND NOW1 this                  day of January, 2016, it is hereby stipulated and

                                                                     7 Trustee (Trustee) on behalf of debtor,
     between the parties hereto, Terry Dershaw, Chapter
                                                    (ECI               or Creditor) through its sole member,
     Campisi Construction, inc., (Debtor), Ed, LLC,
                                                                 LLC (Cougar) through its sole member, David
     David J. Spause and Cougar Development Group,
                                                             regard to ECI’s Secured Proof of Claim, Claim
     J. Spause that they have reached a settlement in
                                                                 Unsecured Proof of Claim #11 and Cougar’s
     #7, ECI’s Unsecured Proof of Claim #8, ECI’s
                                                           or.     The aforementioned Proof of Claims are
     Unsecured Proof of Claim #9 against Debt
                                                    fully         set forth within this Stipulation.
     incorporated hereto and made part hereof as if

                                                                   Campisi Consiruetion, Inc., the Debtor and
      I.        On March 31, 2014 (the “Petition Date”),
                                                                                                           titLe
                                                      voluntary petition for relief under chapter II of
       debtor-in-possession (the “Debtor”), filed a
                                                           et seq. (the “Bankruptcy Code”).
           II of the United States Code, 11 U.S.C. § 101


                                                             1
      ACTIVE 3834907%vl 0t105t20!6
Case 14-12458-amc           Doc 655     Filed 10/04/23 Entered 10/11/23 14:52:04                    Desc Main
                                       Document     Page 9 of 13




                                                                                               agree to the
    8.       The parties hereto, upon consultation with their respective counsel, hereby

     following terms and condition:
                                                                                    ent it     has obtained
          a. Creditor had le’ied the Cornerstone Funds in regard to a secured judgm

           ugainsi Anthony (3. Campisi more than 90 days prior to Petition Date.
                                                                                      Corner           sione
          b. Creditor, for purposes of eu ipiomise and settlement with rpect to (lie.
                                                                                            Debtor’s estate,
           Funds, is wiWng to have pert ofhe Cornerstone Funds recovery paid to the
                                                                              interest in
           a reirnhursenient for thc Debtor’s Cpiathation of Anthony Campisrs

           Cornerstone, as iI tows:
                                                                                                 as follows:
               i,      The Trustee and the Creditor shall share in the Cornerstone funds
                                                                                                shall receive
              Creditor shaH rteelvo 75% of the funds colltcted and the Debtor’s estate

              25% of the funds collcted        Nntwhhsuinding the afocnientioned, any wd all finds
                                                                                                 and are not
              coHected for interest, cost, exoensos or attorney’s fces are to be kept by ECI
                                                                                                the Secured
              to b credited towards or will otherwise reduce the amount due under

              Claim.
                                                                                                           ’s
               ii.     lii oonl   rutlon f the forcgoing the Trutee hereby agrees to withdraw Debtor
                                                                                              t to Creditor’s
              Motion fr 5anetlons for the violation of the A.utomU Stay with respec
                                                                                              Creditor denies
              attempt to the eoiler.tion of the Cornerstone Funds through garnishment.

               any violation of the automatic stay provisions (a pursuit of satisfaction
                                                                                           of the judgment he

               has against either Debtor or Anthony Campisi.
                                                                                 end without prejudice
               111.  The Trustee further agecs to terminate, di ontinue and
                                                                           Cornerstone and Creditor,
               Adversary Action 201 4-0O6 ItS JKF, filed b Debtor agaiiist
                                                                           h    a perfected levy which was
           e Creditor has also e,erted ancitlemertt tu Jukoil funds throug

             aerved upon Lukll rnre than 90 days prior to the Petition Date.




         ACTIVI 34%O72vl oitomoI6
Case 14-12458-amc       Doc 655 Filed 10/04/23 Entered 10/11/23 14:52:04                     Desc Main
                               Document    Page 10 of 13




      d, Trustee and Creditor agree that the Lukoil funds shall be shared between them with 60%

       of said recovery paid to Creditor and 40% paid to the Debtor’s state, whether said funds

       are obtained through settlement, Court order, Court approved garnishment, or any other

       means.

      e. In consideration for this split of the Lukoil funds and In light of the fact that New Jersey

       law is clear that the Lukoll funds, since properly levied, are not part of the bankruptcy

       estate, as a settlement, the Trustee consents to the granting of the Motion of ECI, LLC, for

       Order For Relief from The Automatic Stay For Cause Under II U.S.C. §362(D)( 1) and will

       join with Creditor in seeking the Court’s approval of said Motion.

      f. Trustee shall, assist Creditor in pursuit of said LUkOII levied funds.

      g. Any funds which Creditor is able to recover as a result of a Levy or Garnishment

       Violation will be credited towards the secured judgment amount once costs, expenses and

       reasonable attorney’s fees are deducted for the collection and adjudication of said funds.

       Once the secured judgment plus, if applicable all accruing interest, is satisfied, any

       additional funds (Excess Funds) will be distributed 100% to the Estate as replacement funds

       fov the Lukoit funds received by the Creditor, which amount shaif not exceed the amount

       recovered from Lukoil.

      ii. In consideration of alt of the foregoing, the Trustee agrees to withdraw with prejudice

       any and all of Debtor’s objections to and hereby stipulates to and agrees that the following

       Proof of Claims are consented to and this Court hereby approves the following claims of

       ECI: Proof of Claim #7, Proof of Claim #8. Proof of Claim #11; and, Cougar’s Proof of

       Claim #9.




                                                     4
    ACTIVE 36349072v1 oiioi
Case 14-12458-amc              Doc 655 Filed 10/04/23 Entered 10/11/23 14:52:04                    Desc Main
                                      Document    Page 11 of 13




                                                                                  the Honorable Jean K.
   2.           Said Chapter ii was subsequently converted to Chapter 7 by

    FitzSimon.

   3.            Terry Dershaw was appointed the Chapter 7 Trustee.
                                                                             t of a final unappealed State
   4.            ECI’s Secured Proof of Claim, Claim #7, is a direct resul
                                                                  by the Stata Court as a final judgment
        Court confirmed arbitration award which was entered
                                                                ust 20, 2013 lii the amount of
        against the Debtor (“State Court Judgment”), on Aug
                                                                (“ECI Judgment”), in the Court of
        $174,047.35, plus 52,71 in daily post-judgment interest
                                                                te Court”), Docket No. 2011-12517.
        Common Pleas of Montgomery County, Pennsylvania (“Sta
                                                                  entering judgment has been attached as
        A copy of the Order confirming arbitration award and

        Exhibit “A” and incorporated by reference.
                                                                  obta        ined a final judgment on the
    5.            Subsequently, on August 28, 2013, E, LLC (“Ed”)
                                                              ber         is DJ 169407-13. A copy of the
         Debtor in the State of New Jersey under Judgment Num
                                                                      rporated by reference.
         Judgment Index has been attached as Exhibit “B” and inco
                                                                        ution with the Burlington County
        6.        On September 12, 2013, ECJ filed a Writ of Exec
                                                                       LLC (Lukoil), levying a portion of
         Sheriff’s Office to be served on Lukoil North America,

         Debtor’s accounts receivables.
                                                                            six months prior to the Petition
        7.        On September 20, 2013, (the “Levy Date”), more than
                                                               d the Writ of Execution upon Lukoil in an
             Date, the Burlington County Sheriff’s Office serve
                                                                      levying cash-equivalent assets not to
             amount not to exceed $179,625.92 (“Lukoil Levy”),
                                                                  (“Lukoil Accounts Receivables”). This
             exceed that amount, namely the monies due Debtor
                                                                      Department by way of a Levy Report
             levy was confirmed by the Burlington County Sheriffs.

             attached as Exhibit “C.”




                                                           2
         ACTIVE 38349072v1 OtJO5i2OI
Case 14-12458-amc           Doc 655 Filed 10/04/23 Entered 10/11/23 14:52:04                      Desc Main
                                   Document    Page 12 of 13




      i.     In consideration of all of the foregoing, the Trustee agrees to withdraw, with prejudice,

           any and all of Debtor’s objections to Cougar’s Proof of Claim #9 and hereby stipulates to

           and agrees that Proof of Claim #9 is consented to and this Court hereby approves Proof of

           Claim 119.

      j.     hi consideration for all the (bregoing and furthet uukuuwledging the lack of legal basis

           for the action set forth below1 the Trustee agrees to terminate, end and discontinue, with

           prejudice the following action filed by the Debtor in the Court of Common Pleas,

           Montgomery County, Pennsylvania, Docket #: 2013-30024.

      k. In the event it is determined that any other actions, known or unknown, arise against the

           Debtor or an entity determined to be an alter ego of Debtor, the Trustee and Creditor shall

           jointly pursue the same and any recovery shall be equally shared between Creditor, up to the

           amount of his secured judgment, and Trustee.

      1.     Further, it is understood and agreed that this Settlement shall not have any adverse effect,

           be deemed a release or in any other way bar or prohibit Creditor or Cougar or any of their

           members or any other party hereto from pursing Anthony G. Campisi personally for any

           judgment, deficiency claims, existirg claims, future claims, known or unknown, in a court

           of competent jurisdiction.

      m. Any and all monies or funds recovered, received by or paid in to the Estate shall not

           reduce or otherwise be credited to any of ECI’s or Cougar’s claims and shalt not reduce the

           amount due and owing in those clainis.

       n. The parties hereto intend this Stipulation and Consent Order and its findings to be

           binding in any and all future actions or suits in a court of competent jurisdiction.




                                                        5
    ACTIVE 38349072v1 oiio.i,oi6
Case 14-12458-amc           Doc 655 Filed 10/04/23 Entered 10/11/23 14:52:04                         Desc Main
                                   Document    Page 13 of 13




   9,         The Court shall retain jurisdiction to hear any matters or disputes arising from or relating

    to this Stipulation.

   10.        The terms and conditions of this Stipulation shall be immediately effective and

    enforceable upon its entry.

   11.        Notwithstanding the possible applicability of any federal Rule of Bankruptcy Procedure,

    the terms and conditions of this Stipulation shall be immediately effective and enforceable upon

    its entry.




        ACT{VE 3$349072v1 01105/2016
